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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

 IN RE:

 PAUL CHARLES LEMKE AND TWIGGY
                                                               CASE NO: 18-40343-EJC
 YEIKO LEMKE,
      Debtors


 BAYVIEW LOAN SERVICING, LLC,
      Movant

 v.
                                                             JUDGE: Edward J. Coleman III
 PAUL CHARLES LEMKE AND TWIGGY
 YEIKO LEMKE,
                                                                      CHAPTER: 7
      Debtors

 WENDY ANNE OWENS,
     Trustee

          Respondents

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

          COMES NOW Bayview Loan Servicing, LLC (hereinafter “Movant”), a secured creditor in
 the above-captioned case, by and through counsel, Brock & Scott, PLLC, and moves this Court to
 enter an order granting its request for relief from the automatic stay imposed by 11 U.S.C. § 362(a):


          1.    On March 8, 2018, the Debtors, Paul Charles Lemke and Twiggy Yeiko Lemke, filed
 a petition with the Bankruptcy Court for the Southern District of Georgia under Chapter 7 of Title 11
 of the United States Code.


          2.    The Debtors hold title to the real property (hereinafter “Collateral”) described in that
 Deed of Trust recorded in the Bexar County Register of Deeds in Book 13704 at Page 101 and
 recorded on October 1, 2008 (hereinafter “Deed of Trust”) with an address of 1219 Carmel Oaks,
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 San Antonio, TX 78253. A copy of the Deed of Trust is attached hereto and is incorporated herein as
 Exhibit A.


        3.        Movant holds a Promissory Note secured by the Deed of Trust from the Debtors in
 the original principal amount of $92,000.00 and dated September 30, 2008 (hereinafter “Note”). A
 copy of the Note is attached hereto and incorporated herein as Exhibit B.


        4.        The Debtors have scheduled the value of the Collateral at $160,000.00.


        5.        Upon information and belief, the approximate payoff, exclusive of legal fees and
 expenses incurred in connection with the instant motion, due and owing to Movant as of July 2, 2018
 is $76,430.29.


        6.        Upon information and belief, per the Debtors’ schedules, Morris Bank holds a second
 priority lien on the Collateral in the approximate amount of $475,482.79.


        7.        As a result of the averments in paragraphs 4 through 6, no equity exists in the subject
 property.


        8.        Upon information and belief, the Debtors are surrendering their interest in the
 Collateral.


        9.        Cause exists for relief from the automatic stay. Direct mortgage payments are not
 being made to Movant. As such, Movant’s interests are not adequately protected.


        WHEREFORE, Movant prays the Court as follows:


        1.        Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its
 security interest in the Collateral including but not limited to any non-bankruptcy remedies to
 foreclose and obtain possession.
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         2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this
 case and so Movant may immediately enforce and implement this order granting relief from the
 automatic stay.


         3.      As an alternative to the relief prayed for above, grant adequate protection to Movant
 for its interest in the Collateral.


         4.      Movant specifically requests permission to communicate with the Debtors and
 Debtors’ counsel to the extent necessary to comply with applicable non-bankruptcy law; and


         5.      Grant Movant such other and further relief as the Court deems just and proper.



 This 2nd day of August, 2018.


                                              /s/ Travis Menk
                                              Travis Menk (GA Bar No. 632610)
                                              Attorney for Movant
                                              Brock & Scott, PLLC
                                              4360 Chamblee Dunwoody Rd. Suite 310
                                              Atlanta, GA 30341
                                              Ph: 404-789-2661
                                              Fax: 404-294-0919
                                              gabkr@brockandscott.com
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF GEORGIA
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 IN RE:

 PAUL CHARLES LEMKE AND TWIGGY
                                                             CASE NO: 18-40343-EJC
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 BAYVIEW LOAN SERVICING, LLC,
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 v.
                                                          JUDGE: Edward J. Coleman III
 PAUL CHARLES LEMKE AND TWIGGY
 YEIKO LEMKE,
                                                                   CHAPTER: 7
      Debtors

 WENDY ANNE OWENS,
     Trustee

          Respondents

                               CERTIFICATE OF SERVICE

        I, Travis Menk, Attorney at Law, certify that I am, and at all times hereinafter mentioned
 was, more than 18 years of age; that on the 18th day of July, 2018, I served on the persons listed
 below a copy of the within MOTION FOR RELIEF FROM STAY by electronic service or by regular
 mail, with appropriate postage affixed, at:

 Paul Charles Lemke
 10847 Barbados Isle Drive
 Tampa, FL 33647

 Twiggy Yeiko Lemke
 10847 Barbados Isle Drive
 Tampa, FL 33647

 C. James McCallar, Jr.
 P. O. Box 9026
 Savannah, GA 31412
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 Wendy Anne Owens
 PO Box 8846
 Savannah, GA 31412

 U.S. Trustee
 Johnson Square Business Center
 2 East Bryan Street, Ste. 725
 Savannah, GA 31401


 This 2nd day of August, 2018.
                                    Brock and Scott, PLLC

                                    /s/ Travis Menk
                                    Travis Menk (GA Bar No. 632610)
                                    Brock & Scott, PLLC
                                    4360 Chamblee Dunwoody Rd. Suite 310
                                    Atlanta, GA 30341
                                    Ph: 404-789-2661
                                    Fax: 404-294-0919
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EXHIBIT B
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